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                    6 Attorneys for Defendant
                      FORD MOTOR COMPANY
                    7

                    8                                UNITED STATES DISTRICT COURT

                    9                              EASTERN DISTRICT OF CALIFORNIA
                   10

                   11 STEVEN MIRONOWSKI and                                 CASE NO: 1:22-CV-00675-JLT-CDB
                      RUBEN MIRONOWSKI,
                   12
                                             Plaintiffs,                    DECLARATION OF BRIAN C.
                   13                                                       VANDERHOOF IN SUPPORT OF
                             vs.                                            MOTION FOR ENTRY OF PROTECTIVE
                   14                                                       ORDER TO GOVERN CONFIDENTIAL
                      FORD MOTOR COMPANY; and DOES 1                        MATERIALS
                   15 through 10, inclusive,

                   16                          Defendants.                  Action Filed: 06/06/2022

                   17

                   18                          DECLARATION OF BRIAN C. VANDERHOOF
                   19 I, Brian C. Vanderhoof, declare as follows:

                   20             1.   I am an attorney duly licensed to practice law before all courts of the State of
                   21 California and the United States District Court for the Eastern District of California, and am a partner

                   22 with Lewis Brisbois Bisgaard & Smith, LLP, attorneys for Defendant Ford Motor Company

                   23 (“Ford”). I am a member in good standing with the State Bar of California. I have personal

                   24 knowledge of the following facts, except for those based on information and belief, which I believe

                   25 to be true, and if called upon to testify, I could and would competently testify to their truth and

                   26 accuracy.

                   27             2.   This declaration is submitted in support of Ford Motor Company’s Notice of Motion
                   28 and Motion for Entry of Protective Order to Govern Confidential Materials.
LEWIS
BRISBOIS                 91426743.1                               1                  Case No. BCV-21-102989-BCB
BISGAARD
& SMITH LLP                  DECLARATION OF BRIAN VANDERHOOF IN SUPPORT OF MOTION FOR ENTRY OF PROTECTIVE
ATTORNEYS AT LAW                               ORDER TO GOVERN CONFIDENTIAL MATERIALS
                        Case 1:22-cv-00675-JLT-CDB           Document 17-2         Filed 03/09/23      Page 2 of 4


                    1           3.       Attached hereto as Exhibit A is a true and correct copy of the Protective Order re

                    2 Confidentiality that Ford proposed to Plaintiffs and requests that this Court enter.

                    3           4.       Ford responded to Plaintiff’s first set of discovery, which included 16 Interrogatories
                    4 and 87 Requests for Production. In response to these requests, Ford produced hundreds of pages of

                    5 documents relating to Plaintiff’s vehicle. 1 Nevertheless, Plaintiffs recently raised an issue for the

                    6 first time in connection with the preparation of the Joint Mid-Discovery Report related to “getting

                    7 emails and reports relating to steps Ford took to reduce the various “symptom codes” in the same

                    8 make and model as the vehicle in this case.” (Dkt. #15, P. 3:12-14.) It is unclear from the Mid-

                    9 Discovery Report what issues Plaintiffs are referring to, but generally discovery disputes with
                   10 Plaintiffs’ counsel can be resolved if Ford agrees to produce certain confidential, proprietary or trade

                   11 secret information and materials, including but not limited to the following specific documents:

                   12                •   Ford’s Warranty Policy & Procedure Manual, which is a document that details the
                   13                    policies and procedures that Ford developed over time for use by its dealers in the
                   14                    United States regarding warranty claim diagnosis, submission, allowance and
                   15                    reimbursement;
                   16                •   Ford’s Customer Relationship Center Policies and Procedures, which are developed
                   17                    and used by and for Ford’s Customer Relationship Center, which handles, assesses,
                   18                    documents, categorizes and resolves customer concerns that are reported to Ford by
                   19                    consumers; and
                   20                •   Customer contacts received by Ford’s call center through Ford’s Global Contact
                   21                    Center Technology (“GCCT”) application regarding 2019 Ford F-150 vehicles
                   22                    purchased in California, which involve the same symptom codes (if any) as those
                   23                    present in the GCCT records for the subject vehicle, as well as the symptoms
                   24                    experienced by Plaintiffs as reflected in the repair or warranty records for the subject
                   25                    vehicle, subject to a protective order agreeable to Ford.
                   26           4.       The parties agree that a protective order is warranted in this case but have been unable
                   27
                         1
                   28      These documents include the warranty claim history, service and repair records, the warranty
LEWIS                    guide, factory invoice, and communications between Plaintiffs and Ford. (Id.)
BRISBOIS                 91426743.1                                     2                      Case No. BCV-21-102989-BCB
BISGAARD
& SMITH LLP                  DECLARATION OF BRIAN VANDERHOOF IN SUPPORT OF MOTION FOR ENTRY OF PROTECTIVE
ATTORNEYS AT LAW                               ORDER TO GOVERN CONFIDENTIAL MATERIALS
                        Case 1:22-cv-00675-JLT-CDB           Document 17-2        Filed 03/09/23     Page 3 of 4


                    1 to agree on the form of the order. In fact, it was Plaintiffs who first proposed the entry of protective

                    2 order.

                    3             5.     Ford and Plaintiffs’ counsel have attempted in this case and in the past to negotiate

                    4 a protective order in the numerous cases Plaintiffs’ counsel files against Ford. In this instance,

                    5 Plaintiffs’ counsel wholesale rejected Ford’s revisions to the ND Model “as not necessary.”

                    6 Attached hereto as Exhibit B is a true and correct copy of an email dated January 24, 2023. The

                    7 parties have been unable to reach an agreement on the language of a protective order.

                    8             I declare under penalty of perjury under the laws of the United States of America that the

                    9 foregoing is true and correct and if called as a witness I could and would so testify.
                   10             This Declaration is dated March 9, 2023, in Los Angeles, California.
                   11

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                   13                                                         ___________________________________
                                                                              Brian C. Vanderhoof
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LEWIS
BRISBOIS                 91426743.1                               3                  Case No. BCV-21-102989-BCB
BISGAARD
& SMITH LLP                  DECLARATION OF BRIAN VANDERHOOF IN SUPPORT OF MOTION FOR ENTRY OF PROTECTIVE
ATTORNEYS AT LAW                               ORDER TO GOVERN CONFIDENTIAL MATERIALS
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                    1                                      CERTIFICATE OF SERVICE

                    2             I hereby certify that on March 9, 2023, a true and correct copy of the foregoing

                    3 DECLARATION OF BRIAN C. VANDERHOOF IN SUPPORT OF MOTION FOR

                    4 ENTRY OF PROTECTIVE ORDER TO GOVERN CONFIDENTIAL MATERIALS was

                    5 filed electronically with the Clerk of the Court using the CM/ECF System. Notice of this filing

                    6 will be sent by operation of the Court’s electronic filing system to all parties listed on the CM/ECF

                    7 System. Parties may access this filing through the Court’s electronic filing system.

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                                                                            Cora Ruvalcaba
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LEWIS
BRISBOIS                 91426743.1                               4                  Case No. BCV-21-102989-BCB
BISGAARD
& SMITH LLP                  DECLARATION OF BRIAN VANDERHOOF IN SUPPORT OF MOTION FOR ENTRY OF PROTECTIVE
ATTORNEYS AT LAW                               ORDER TO GOVERN CONFIDENTIAL MATERIALS
